       Case 3:14-cr-03537-BAS               Document 679           Filed 02/10/16             PageID.2703      Page 1 of 4

AD 2458 (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                           FILED
                                                                                                           FEB 09 2016
                                      UNITED STATES DISTRICT Co                                      TL...-_ _ _~~
                                                                                                     CLERK US DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA SOUTHERN                             TRICT OF CALIFORNIA
                                                                                                  BY                      DEPUTV
            UNITED STATES OF AMERICA
                                 v.                                (For Offenses Committed On or After November 1, 1987)
              DONA VYN KEITH DOVE (8)
                                                                       Case Number:         14CR3537-BAS

                                                                   JULIE A. BLAIR
                                                                    Defendant's Attorney
REGISTRA TION NO.                48892298
o-
IZI pleaded guilty to count(s)         ONE (1) OF THE INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                    Count
Title & Section                       Nature of Offense                                                            Number(s)
18 USC 1962(d)                        CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                        1
                                      THROUGH A PATTERN OF RACKETEERING ACTIVITY




     The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is          dismissed on the motion ofthe United States.

 IZI   Assessment: $100.00



 IZINo fine                0 Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until aU fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    FEBRUARY 8. 2016
                                                                          0;
                                                                    Date Imposition ofC]lA


                                                                    HON~        BASHANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                  14CR3537-BAS
      Case 3:14-cr-03537-BAS           Document 679          Filed 02/10/16      PageID.2704         Page 2 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 DONAVYN KEITH DOVE (8)                                                  Judgment - Page 2 of 4
CASE NUMBER:               14CR3537-BAS


                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED (TWENTY FOUR (24) MONTHS SERVED IN STATE CUSTODY)




 D      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D      The court makes the following recommendations to the Bureau of Prisons:




 D      The defendant is remanded to the custody of the United States Marshal.

 D      The defendant shall surrender to the United States Marshal for this district:
        D    at                         A.M.                  on
             -----------------
        D as notified by the United States Marshal.
                                                                   ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
        Prisons:
        D    on or before
        D    as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------------- to ------------------------------
 at
      ----------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR3537-BAS
            Case 3:14-cr-03537-BAS                  Document 679              Filed 02/10/16            PageID.2705             Page 3 of 4

    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   DONA VYN KEITH DOVE (8)                                                                      Judgment - Page 3 of 4
    CASE NUMBER:                 14CR3537-BAS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comp Iy with the requirements of the Sex Offender Registration and Notification Act (42 U. S.C. § 1690 I, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                   14CR3537-BAS
     Case 3:14-cr-03537-BAS         Document 679        Filed 02/10/16      PageID.2706       Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            DONAVYN KEITH DOVE (8)                                                Judgment - Page 4 of 4
CASE NUMBER:          14CR3537-BAS

                               SPECIAL CONDITIONS OF SUPERVISION

   1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   3. Resolve all outstanding warrants/detainers within 60 days.


   4. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
      by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
      reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
      to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
      may be subject to searches pursuant to this condition.


   5. Shall not knowingly associate with any known member, prospect, or associate of the (Tycoons and
      Skyline Pirus), or any other gang, or club with a history of criminal activity, unless given permission by
      the probation officer.

   6. Shall not knowingly loiter, or be present in locations known to be areas where gang members
      congregate, unless permission by the probation officer.

   7. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
      associated with a gang, unless given permission by the probation officer.

   8. Shall not knowingly associate with prostitutes or pimps andlor loiter in areas frequented by those engaged
      in prostitution and sex trafficking.




                                                                                                14CR3537-BAS
